              Case 2:14-cr-00097-DC Document 165 Filed 02/03/16 Page 1 of 2


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5
     Attorney for Defendant
     MELISSSA TORRES
6

7

8
                            IN THE UNITED STATES DISTRICT COURT
9
                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                      )       No. CR-S-14-097 MCE
                                                    )
                                                    )
12          Plaintiff,                              )       STIPULATION AND
                                                    )       ORDER CONTINUING JUDGMENT
13
     v.                                             )       SENTENCING
14
                                                    )
     MELISSA TORRES and                             )       Date: February 11, 2016
                                                    )       Time: 9:00 a.m.
15   SALLY EVANS,                                   )       Judge: Honorable Morrison C. England, Jr.
                                                    )
16
            Defendants.                             )
                                                    )
17
                                                    )
18

19          The parties hereby stipulate the following:

20          1. Judgment and sentencing in this matter is presently set for February 4, 2016. Counsel

21              for the parties request the date for judgment and sentencing be continued to

22              February 11, 2016 at 9:00 a.m. Assistant U.S. Attorney Christiaan Highsmith and

23              United States Probation have been advised of this request and have no objection. The

24              parties request the Court adopt the following schedule pertaining to the presentence

25              report:

26              Judgment and Sentencing date:                                      2/11/16
27
                Reply, or Statement of Non-Opposition:                             n/a
28
                Motion for Correction of the Presentence Report
                Shall be filed with the Court and served on the
                                                        1
              Case 2:14-cr-00097-DC Document 165 Filed 02/03/16 Page 2 of 2


               Probation Officer and opposing counsel no later than:         n/a
1

2
               The Presentence Report shall be filed with the Court
3              And disclosed to counsel no later than:                       n/a
4
               Counsel’s written objections to the Presentence Report
5              Shall be delivered to the probation officer and opposing
               Counsel no later than:                                        n/a
6

7
               The Presentence Report shall be filed with the Court
               And disclosed to counsel no later than:                       n/a
8

9    IT IS SO STIPULATED.
10   Dated: February 1, 2016                                    /s/ John R. Manning
11
                                                               JOHN R. MANNING
                                                               Attorney for Defendant
12                                                             Melissa Torres
13
     Dated: February 1, 2016                                   /s/ James R. Greiner
14                                                             JAMES R. GREINER
                                                               Attorney for Defendant
15                                                             Sally Evans
16

17   Dated: February 1, 2016                                   Benjamin B. Wagner
                                                               United States Attorney
18
                                                               by: /s/ Christiaan Highsmith
19
                                                               CHRISTIAAN HIGHSMITH
20                                                             Assistant U.S. Attorney

21
                                                ORDER

22         IT IS SO ORDERED.
23   Dated: February 2, 2016
24

25

26

27

28




                                                    2
